                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

   BRENNAN M. GILMORE,

                               Plaintiff,

                        v.

   ALEXANDER (“ALEX”) E. JONES;
   INFOWARS, LLC, a Texas limited liability
   company; FREE SPEECH SYSTEMS,                     Case No. 3:18-cv-00017-NKM-JCH
   LLC, a Texas limited liability company;
   LEE STRANAHAN; LEE ANN MCADOO
   a/k/a LEE ANN FLEISSNER; SCOTT
   CREIGHTON; JAMES (“JIM”) HOFT;
   DERRICK     WILBURN;          MICHELE
   HICKFORD; and WORDS-N-IDEAS,
   LLC,

                               Defendants.

             MOTION OF ALISON S. DEICH TO WITHDRAW APPEARANCE

         Pursuant to Local Rule 6(i), Alison S. Deich, counsel for amici curiae Professors Christine

  Bartholomew, Danielle Citron, Brooke Coleman, Scott Dodson, Howard Erichson, Helen

  Hershkoff, Lee Kovarsky, Sarah Ludington, Philip Pucillo, Alexander Reinert, Joan Shaughnessy,

  Benjamin Spencer, Adam Steinman, and Suja Thomas (“Scholars” or “Amici”), hereby moves to

  withdraw her appearance in this case, and in support of this motion states as follows:

         1. Alison S. Deich entered an appearance as counsel on behalf of the Scholars in this

             matter;

         2. The Scholars requested leave to submit a single amicus brief to aid the Court in its

             assessment of the Defendants’ then-pending motions to dismiss, and the Court granted

             the Scholars’ request, see Dkt. 78;




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         3. Earlier this year, the Court issued its opinion largely denying the motions to dismiss,

             see Dkt. 123; and

         4. The Scholars’ participation as amici has concluded, and their representation by Ms.

             Deich and Cohen Milstein Sellers & Toll PLLC has ended.

         WHEREFORE, the undersigned Alison S. Deich respectfully requests that she be granted

  leave to withdraw as counsel for the Scholars in this matter.



                                                    Respectfully submitted,

                                                    / s / Alison S. Deich
                                                    Alison S. Deich
                                                         E.D. Va. Bar No. 87452
                                                    COHEN MILSTEIN SELLERS
                                                         & TOLL PLLC
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  Dated: June 7, 2019




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   HICKFORD; and WORDS-N-IDEAS,
   LLC,

                               Defendants.

                                             ORDER

         Before the Court is the Motion of Alison S. Deich to Withdraw as counsel for the

  Scholars, dated June 7, 2019.

         Accordingly, and for good cause shown, it is hereby ORDERED that attorney Alison S.

  Deich be granted leave to withdraw, and that the Scholars be terminated from the docket.




   Dated: _____________________, 2019




                                                   __________________________________
                                                   United States Magistrate Judge




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